                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:20-CR-00009-M

UNITED STATES OF AMERICA                    )
                                            )             ORDER
              V.                            )
                                            )
JAMES EDWARD BRINKMAN                       )


       This matter is before the Court on "Defendant' s Supplemental Sentencing Memorandum." [DE-

42.] The Court sentenced Defendant James Edward Brinkman on September 10, 2020. At sentencing,

Defendant requested that the commencement of his term of incarceration be staggered with the sentence

imposed on Kimberly Renee Brinkman, 5:20-cr-00008-M, and the Court requested supplemental

briefing concerning Defendant' s request for staggered report dates [DE-39]. The Court has reviewed the

supplemental briefing. For good cause shown, it is hereby ORDERED:

       The Defendant, James Edward Brinkman, shall surrender to the United States Bureau of Prisons

when and as notified by the Court or the United States Marshal's Service. Co-defendant Kimberly

Renee Brinkman shall also report when notified by the Court or the United States Marshal's Service, but

not earlier than ten (10) months following the surrender of Defendant James Edward Brinkman.

       The Court also recommends that Defendant be incarcerated at an institution close to his family in

Florida.

       Defendant is continued under the same conditions of release until directed to report to the Bureau

of Prisons.                     it
      SO ORDERED, this the    J§__ day of September, 2020.

                                                 ~Cf111--UAJr
                                                   RICHARD E. MYERS II
                                                   UNITED STATES DISTRICT JUDGE




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